23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 1 of
                                        10



                                            UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                    EL PASO DIVISION

      IN RE:                                                                 §
                                                                             §   CASE NO 23-30242-cgb
      J.A.R. CONCRETE, INC.,                                                 §        Chapter 7
             Debtor                                                          §
                                                                             §

              JOINT AGREED MOTION TO RESET DEADLINES AND CONTINUE
              HEARING (RE: DOCKET NOS. 533, 512, 513)

              PASEO DEL SOL CONSTRUCTION, INC., proposed contract assignee, RON

  INGALLS, TRUSTEE, CITY OF EL PASO, and UNITED STATES FIRE INSURANCE

  COMPANY, (collectively, “Movants”) file this Joint Agreed Motion to Reset Deadlines and

  Continue Hearing (Re: Docket No. 533), and in support thereof would respectfully show to the

  Court the following.

              1.           On December 6, 2023, the Court entered the Order Setting Status Conference and

  Deadlines on Chapter 7 Trustee’s Motions to Assume and Assign Contracts (Dkt## 512, 513, 514)

  and Objections Thereto (Docket No. 533) (the “Scheduling Order”) regarding

              (1) Motion to Assume and Assign Contract [-] Parkway Structures Citywide Maintenance
              Solicitation No. 2021-1305 with the City of El Paso (the “Parkway Structures Contract”)
              (dkt# 512); and

              (2) Motion to Assume and Assign Contract [-] Trowbridge Drive Improvements
              Solicitation No. 2022-0377 with the City of El Paso (the “Trowbridge Contract”) (dkt#
              513)

  (collectively, the “Motions to Assume”).and the various objections that are related to the Motions

  to Assume.1




  1
      This motion does not involve Docket No. 514, the motion to assume involving TxDOT.

  JOINT AGREED MOTION TO RESET DEADLINES AND
  RESCHEDULE HEARING (RE: DOCKET NO. 533, 512, 513, 514) — Page 1
  agreed motion continue 4874-7930-2294 v.5.docx[1] / 4869-1296-2199, v. 1
23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 2 of
                                        10



              2.           The Trustee and the proposed assignee, Paseo del Sol Construction Inc., have

  reached out to and conferred with the City of El Paso, and the surety United States Fire Insurance

  Company regarding the contracts at issue and a resolution of the Motions to Assume.

              3.           The parties believe that time to discuss the issues raised in the Motions to Assume,

  the objections, and/or the Scheduling Order could resolve the Motion to Assume by agreement of

  the parties and/or significantly narrow the issues for consideration.

              4.           Accordingly, all of the parties have agreed to request that the Court amend the

  Scheduling Order to set the briefing and/or further pleading deadline to January 16, 2024 and that

  the hearing on the hearing on the Motion to Assume be set on January 31, 2024 at 9:00 a.m MT /

  10:00 a.m. CT by WebEx. (January 31, 2024 appears to be a WebEx hearing date for El Paso

  already on the calendar of the Court.)

              5.           The parties do not request the additional time merely for purposes of delay.

              6.           A proposed form of agreed order is attached hereto and incorporated by reference

  herein.

              WHEREFORE, PASEO DEL SOL CONSTRUCTION, INC., RON INGALLS,

  TRUSTEE, CITY OF EL PASO, and UNITED STATES FIRE INSURANCE COMPANY,

  Movants respectfully pray that the Court enter the proposed order and reschedule the briefing

  deadlines and the hearing date as set forth above and/or in the proposed order. Movants request

  such other and further relief as they may be entitled at law or in equity.



                                                        {continued on following sheet(s)}




  JOINT AGREED MOTION TO RESET DEADLINES AND
  RESCHEDULE HEARING (RE: DOCKET NO. 533, 512, 513, 514) — Page 2
  agreed motion continue 4874-7930-2294 v.5.docx[1] / 4869-1296-2199, v. 1
23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 3 of
                                        10




              Dated: December 13, 2023                                       Respectfully submitted,

                                                                              WEYCER, KAPLAN,
                                                                              PULASKI & ZUBER, P.C.

                                                                              By:    /s/ Jeff Carruth*
                                                                                     JEFF CARRUTH
                                                                                     Texas Bar No.: 24001846
                                                                                     24 Greenway Plaza Suite 2050
                                                                                     Houston, Texas 77046
                                                                                     Telephone: (713) 341-1158
                                                                                     E-mail: jcarruth@wkpz.com

                                                                              ATTORNEYS FOR JOE A. ROSALES, Jr.


                                                                              WEINSTEIN RADCLIFF PIPKIN LLP

                                                                              By: __/s/ Gregory M. Weinstein*___________
                                                                                      GREGORY M. WEINSTEIN
                                                                                      State Bar No. 16027020
                                                                                      SCOTT MCFADIN
                                                                                      State Bar No. 24098074
                                                                                      8350 N. Central Expressway, Suite 1550
                                                                                      Dallas, Texas 75206
                                                                                      Telephone: 214.865.6126
                                                                                      Facsimile: 214.865.6140
                                                                                      Email: gweinstein@weinrad.com
                                                                                      smcfadin@weinrad.com

                                                                              ATTORNEYS FOR UNITED STATES FIRE
                                                                              INSURANCE COMPANY


                                                                              By: ____/s/ Ronald Ingalls*_______________
                                                                                    Ronald Ingalls, Trustee
                                                                                    SBT 10391900
                                                                                    Po Box 2867
                                                                                    Fredericksburg, TX 78624
                                                                                    Tel: (830) 321-0878
                                                                                    Fax: (830) 321-0913
                                                                                    Email: ingallstrustee@gmail.com

                                                                              CHAPTER 7 TRUSTEE



  JOINT AGREED MOTION TO RESET DEADLINES AND
  RESCHEDULE HEARING (RE: DOCKET NO. 533, 512, 513, 514) — Page 3
  agreed motion continue 4874-7930-2294 v.5.docx[1] / 4869-1296-2199, v. 1
23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 4 of
                                        10



                                                                             BARRON & NEWBURGER, P.C.

                                                                             By: ___/s/ Stephen W. Sather*______________
                                                                                    Charles I. Murnane
                                                                                    State Bar No 24074775
                                                                                    Stephen Sather
                                                                                    State Bar No 17657520
                                                                                    7320 N. Mopac Expy, Suite 400
                                                                                    Austin, Texas 78731
                                                                                    (512) 649-3243
                                                                                    (512) 476-9253 Facsimile

                                                                             ATTORNEY FOR TRUSTEE

                                                                             RAY, PEÑA & MCCHRISTIAN, P.C.

                                                                             By: __/s/ Aldo R. Lopez*_____________
                                                                                    ALDO R. LOPEZ
                                                                                    State Bar No. 24060185
                                                                                    5822 Cromo Dr.
                                                                                    El Paso, Texas 79912
                                                                                    (915) 832-7200
                                                                                    (915) 832-7333- Fax
                                                                                    alopez@raylaw.com

                                                                             ATTORNEYS FOR CITY OF EL PASO


                                                                             * Signature by permission by /s/ Jeff Carruth




  JOINT AGREED MOTION TO RESET DEADLINES AND
  RESCHEDULE HEARING (RE: DOCKET NO. 533, 512, 513, 514) — Page 4
  agreed motion continue 4874-7930-2294 v.5.docx[1] / 4869-1296-2199, v. 1
23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 5 of
                                        10



                                                          CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing was served upon all registered
  ECF users in this case on December 13, 2023 as shown it the list below.

                                                                                 /s/ Jeff Carruth
                                                                                 One of Counsel


  23-30242-cgb Notice will be electronically mailed to:
                                                                                 Miguel Alejandro Flores on behalf of Creditor The Ricardo Cordova Living
  Megan M. Adeyemo on behalf of Creditor Mitsubishi Capital America, Inc.        Trust FBO Alec Julian Herrera
  madeyemo@grsm.com, asoto@grsm.com                                              tanzy.borrego@gmail.com,
                                                                                 tanzy.mail@gmail.com;TB.Notices@gmail.com;r50005@notify.bestcase.co
  Christopher V. Arisco on behalf of Creditor Wallwork Financial                 m;TanzyBorregoLawOffices@jubileebk.net;tanzy.borrego@outlook.com
  carisco@padfieldstout.com, carisco@livepad.com
                                                                                 Miguel Alejandro Flores on behalf of Creditor Ruth Herrera
  Joseph D Austin on behalf of Creditor Nueces Power Equipment                   tanzy.borrego@gmail.com,
  joseph.austin@kellyhart.com                                                    tanzy.mail@gmail.com;TB.Notices@gmail.com;r50005@notify.bestcase.co
                                                                                 m;TanzyBorregoLawOffices@jubileebk.net;tanzy.borrego@outlook.com
  Steven B. Bass on behalf of Creditor Small Business Administration
  Steven.Bass@usdoj.gov, tina.travieso@usdoj.gov                                 Autumn D. Highsmith on behalf of Interested Party Texas Department of
                                                                                 Transportation
  Steven B. Bass on behalf of Creditor United States Internal Revenue Service    autumn.highsmith@haynesboone.com
  Steven.Bass@usdoj.gov, tina.travieso@usdoj.gov
                                                                                 Ronald E Ingalls
  Misti Lachelle Beanland on behalf of Creditor Structural and Steel Products,   ingallstrustee@gmail.com,
  Inc.                                                                           ecf@ingallstrustee.com;ri@trustesolutions.net;sioboop@ingallstrustee.co
  beanland@mssattorneys.com                                                      m

  Merwan N Bhatti on behalf of Creditor Accent Landscape Contractors, Inc.       Ronald E Ingalls on behalf of Trustee Ronald E Ingalls
  bhatti@mgmsg.com, scantu@mgmsg.com                                             ingallstrustee@gmail.com,
                                                                                 ecf@ingallstrustee.com;ri@trustesolutions.net;sioboop@ingallstrustee.co
  James W. Brewer on behalf of Creditor Wells Fargo Equipment Finance, Inc.      m
  jbrewer@kempsmith.com, tschoemer@kempsmith.com
                                                                                 Clayton D. Ketter on behalf of Creditor Deere & Company
  William Steven Bryant on behalf of Creditor Camino Real Regional Mobility      cdketter@phillipsmurrah.com,
  Authority                                                                      mdmills@phillipsmurrah.com;lmsivertsen@phillipsmurrah.com
  sbryant@lockelord.com, jpelayo@lockelord.com
                                                                                 E. P. Bud Kirk on behalf of Debtor J.A.R. Concrete, Inc
  Jason Cagle on behalf of Debtor J.A.R. Concrete, Inc                           budkirk@aol.com
  jcagle@griffithdavison.com, kelliott@griffithdavison.com
                                                                                 Kelsey Linendoll, I on behalf of Creditor Wallwork Financial
  Jeff Carruth on behalf of Interested Party Joe Rosales, Jr                     klinendoll@padfieldstout.com
  jcarruth@wkpz.com, jcarruth@aol.com;ATTY_CARRUTH@bluestylus.com
                                                                                 Aldo R Lopez on behalf of Creditor City Of El Paso
  Larry Chek on behalf of Creditor First-Citizens Bank and Trust Company         alopez@raylaw.com, psoto@raylaw.com
  lchek@pamlaw.com, mislas@pamlaw.com
                                                                                 Patrick Michael Lynch on behalf of Creditor Ally Bank
  Erin Coughlin on behalf of U.S. Trustee United States Trustee - EP12           plynch@qslwm.com, jtownzen@qslwm.com
  erin.coughlin@usdoj.gov,
  carey.a.tompkins@usdoj.gov;omar.e.jones@usdoj.gov                              Layla D Milligan on behalf of Interested Party Texas Department of
                                                                                 Transportation
  Michelle D. Esparza on behalf of Attorney Caterpillar Financial Services       layla.milligan@oag.texas.gov
  Corporation c/o John Nelson, Esq.
  mesparza@dickinsonwright.com, ksaldivar@dickinsonwright.com                    Carlos A. Miranda on behalf of Creditor GECU
                                                                                 cmiranda@eptxlawyers.com, wendy@eptxlawyers.com
  James Michael Feuille on behalf of Creditor M2 Equipment Finance, LLC
  jfeu@scotthulse.com, tmar@scotthulse.com;jcor@scotthulse.com                   John Robert Nelson on behalf of Attorney Caterpillar Financial Services
                                                                                 Corporation c/o John Nelson, Esq.
  James Michael Feuille on behalf of Creditor Tri-State Electric LTD.            jnelson@dickinsonwright.com,
  jfeu@scotthulse.com, tmar@scotthulse.com;jcor@scotthulse.com                   rgarza@dickinsonwright.com;mdallaire@dickinsonwright.com



  JOINT AGREED MOTION TO RESET DEADLINES AND
  RESCHEDULE HEARING (RE: DOCKET NO. 533, 512, 513, 514) — Page 5
  agreed motion continue 4874-7930-2294 v.5.docx[1] / 4869-1296-2199, v. 1
23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 6 of
                                        10


                                                                             Gregory Marc Weinstein on behalf of Creditor Crum & Forster
  Clyde A. Pine, Jr. on behalf of Creditor 4Rivers Equipment, LLC            gweinstein@weinrad.com,
  pine@mgmsg.com, clyde.pine@gmail.com                                       cspringer@weinrad.com;smcfadin@weinrad.com

  Jason Sansone on behalf of Creditor Deere & Company                        Gregory Marc Weinstein on behalf of Creditor United States Fire Insurance
  jasansone@phillipsmurrah.com,                                              Company
  r47439@notify.bestcase.com;mdmills@phillipsmurrah.com;lmsivertsen@p        gweinstein@weinrad.com,
  hillipsmurrah.com                                                          cspringer@weinrad.com;smcfadin@weinrad.com

  Stephen W. Sather on behalf of Trustee Ronald E Ingalls                    Stephen Wilcox on behalf of Creditor Ford Motor Credit Company LLC
  ssather@bn-lawyers.com, phammer@bn-lawyers.com;cmurnane@bn-                swilcox@wilcoxlaw.net, krw77@sbcglobal.net;kraudry@wilcoxlaw.net
  lawyers.com;plevine@bn-lawyers.com;cchristensen@bn-
  lawyers.com;BarronNewburgerPCAustin@jubileebk.net;mcalderon@bn-            Martha Burroughs Wyrick on behalf of Creditor 1st Source Bank
  lawyers.com                                                                martha.wyrick@haynesboone.com

  Michael J. Shane on behalf of Creditor C & R Distributing, LLC             Jarom J Yates on behalf of Creditor 1st Source Bank
  mshane@eplawyers.com, bsilva@eplawyers.com                                 jarom.yates@haynesboone.com, kim.morzak@haynesboone.com

  Michael J. Shane on behalf of Creditor Clowe & Cowan of El Paso, LLC       23-30242-cgb Notice will not be electronically mailed to:
  mshane@eplawyers.com, bsilva@eplawyers.com
                                                                             Griffith Davison, P.C.
  Michael J. Shane on behalf of Creditor WeldBros Company                    13737 Noel Rd., Ste. 850
  mshane@eplawyers.com, bsilva@eplawyers.com                                 Dallas, TX 75240

  Don Stecker on behalf of Creditor City Of El Paso                          Sean Kelley
  don.stecker@lgbs.com                                                       22911 Trailwood
                                                                             Tomball, TX 77375
  United States Trustee - EP12
  USTPRegion07.SN.ECF@usdoj.gov




  JOINT AGREED MOTION TO RESET DEADLINES AND
  RESCHEDULE HEARING (RE: DOCKET NO. 533, 512, 513, 514) — Page 6
  agreed motion continue 4874-7930-2294 v.5.docx[2] / 4869-1296-2199, v. 1
23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 7 of
                                        10




                                            UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                    EL PASO DIVISION

     IN RE:                                                                  §
                                                                             §   CASE NO 23-30242-cgb
     J.A.R. CONCRETE, INC.,                                                  §        Chapter 7
                                                                             §
                                                                             §
                  Debtor.                                                    §
                                                                             §

              AGREED ORDER TO RESET DEADLINES AND CONTINUE HEARING
              (RE: DOCKET NOS. 537, 533, 512, 513)

          On this day came on for consideration the Joint Agreed Motion to Resent Deadlines and
  Continue Hearing (Re: Docket No. 533, 512, 513) (Docket No. 537) (the “Joint Motion”). In light
  of the cause demonstrated in the Joint Motion, and the agreement of the parties as evidenced by
  the signature of their respective counsel appearing below, the Court is of the opinion that the
  following Orders should be entered.

  IT IS HEREBY ORDERED AND NOTICE IS HEREBY GIVEN THAT:

              1.           The Joint Motion is granted as set forth herein.

              2.           Capitalized terms in this Order shall have the same meaning as ascribed to such
                           terms in the Joint Motion unless otherwise defined herein.

              3.           On January 31, 2024 at 9:30 a.m. (MT), the Court will conduct a status
                           conference on the Motions (dkt## 512, 513) and the Objections thereto (dkt## 523,
                           528, 529). The hearing will be conducted via Webex through the Webex software


  AGREED ORDER TO RESET DEADLINES AND CONTINUE HEARING
  (RE: DOCKET NOS. 537, 533, 512, 513, 514) — Page 1
  agreed motion continue 4874-7930-2294 v.5.docx[4] / 4869-1296-2199, v. 1
23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 8 of
                                        10



                           application at: us-courts.webex.com/meet/Bradley. Parties and counsel that are
                           only listening to the status conference may attend by phone at phone number 650-
                           476-3207, access code 160-357-6609#.

              4.           At the status conference, the Court will only hear legal arguments. No witnesses or
                           evidence will be considered. An evidentiary hearing will be held at a later date, if
                           necessary.

              5.           By 4 p.m. (MT) on January 16, 2024, the Trustee shall file a response to the
                           Objections (“Response”), which shall include all legal citations the Trustee wishes
                           the Court to consider, and analysis/discussion explaining how he can overcome
                           each argument presented in the Objections. The Response shall also address
                           whether the 60-day deadline under 11 U.S.C. § 365(d)(1) prevents the Trustee from
                           obtaining the relief requested.

              6.           Any Reply to the Response must be filed by January 23, 2024 at 4:00 p.m. (MT).

              7.           This Order does not pertain to the motion to assume relating to TxDOT (Docket
                           No. 514) nor the TxDOT objection (Docket No. 526).

                                                              ### END OF ORDER ###




  Order submitted by:
  Jeff Carruth
  WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
  Texas Bar No.: 24001846
  24 Greenway Plaza Suite 2050
  Houston, Texas 77046
  Telephone: (713) 341-1158
  E-mail: jcarruth@wkpz.com




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  AGREED ORDER TO RESET DEADLINES AND CONTINUE HEARING
  (RE: DOCKET NOS. 537, 533, 512, 513, 514) — Page 2
  agreed motion continue 4874-7930-2294 v.5.docx[4] / 4869-1296-2199, v. 1
23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 9 of
                                        10



  AGREED:



                                                                             WEYCER, KAPLAN,
                                                                             PULASKI & ZUBER, P.C.

                                                                             By:   /s/ Jeff Carruth*
                                                                                   JEFF CARRUTH
                                                                                   Texas Bar No.: 24001846
                                                                                   24 Greenway Plaza Suite 2050
                                                                                   Houston, Texas 77046
                                                                                   Telephone: (713) 341-1158
                                                                                   Fax: (866) 666-5322
                                                                                   E-mail: jcarruth@wkpz.com

                                                                             ATTORNEYS FOR JOE A. ROSALES, Jr.


                                                                             WEINSTEIN RADCLIFF PIPKIN LLP

                                                                             By: __/s/ Gregory M. Weinstein*___________
                                                                             GREGORY M. WEINSTEIN
                                                                             State Bar No. 16027020
                                                                             SCOTT MCFADIN
                                                                             State Bar No. 24098074
                                                                             8350 N. Central Expressway, Suite 1550
                                                                             Dallas, Texas 75206
                                                                             Telephone: 214.865.6126
                                                                             Facsimile: 214.865.6140
                                                                             Email: gweinstein@weinrad.com
                                                                             smcfadin@weinrad.com

                                                                             ATTORNEYS FOR UNITED STATES FIRE
                                                                             INSURANCE COMPANY


                                                                             By: ____/s/ Ronald Ingalls*_______________
                                                                             Ronald Ingalls, Trustee
                                                                             SBT 10391900
                                                                             Po Box 2867
                                                                             Fredericksburg, TX 78624
                                                                             Tel: (830) 321-0878
                                                                             Fax: (830) 321-0913
                                                                             Email: ingallstrustee@gmail.com



  AGREED ORDER TO RESET DEADLINES AND CONTINUE HEARING
  (RE: DOCKET NOS. 537, 533, 512, 513, 514) — Page 3
  agreed motion continue 4874-7930-2294 v.5.docx[4] / 4869-1296-2199, v. 1
23-30242-cgb Doc#537 Filed 12/13/23 Entered 12/13/23 09:30:04 Main Document Pg 10
                                      of 10



                                                                            CHAPTER 7 TRUSTEE

                                                                            BARRON & NEWBURGER, P.C.

                                                                            By: ___/s/ Stephen W. Sather*______________
                                                                            Charles I. Murnane
                                                                            State Bar No 24074775
                                                                            Stephen Sather
                                                                            State Bar No 17657520
                                                                            7320 N. Mopac Expy, Suite 400
                                                                            Austin, Texas 78731
                                                                            (512) 649-3243
                                                                            (512) 476-9253 Facsimile

                                                                            ATTORNEY FOR TRUSTEE

                                                                            RAY, PEÑA & MCCHRISTIAN, P.C.

                                                                            By: __/s/ Aldo R. Lopez*_____________
                                                                            ALDO R. LOPEZ
                                                                            State Bar No. 24060185
                                                                            5822 Cromo Dr.
                                                                            El Paso, Texas 79912
                                                                            (915) 832-7200
                                                                            (915) 832-7333- Fax
                                                                            alopez@raylaw.com

                                                                            ATTORNEYS FOR CITY OF EL PASO

                                                                            * Signature by permission by /s/ Jeff Carruth




 AGREED ORDER TO RESET DEADLINES AND CONTINUE HEARING
 (RE: DOCKET NOS. 537, 533, 512, 513, 514) — Page 4
 agreed motion continue 4874-7930-2294 v.5.docx[4] / 4869-1296-2199, v. 1
